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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        : No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X

                             DECLARATION OF CYNTHIA CHEN

        I, Cynthia Chen, hereby declare as follows:

        1.      I am an attorney duly admitted to practice in the State of New York and before

this Court.

        2.      I am associated with the law firm of Spears & Imes LLP, counsel for Defendants

in the above-captioned action.

        3.      I respectfully submit this declaration in opposition to Plaintiffs’ Motion for Leave

to Proceed Under Pseudonyms (ECF Doc. 3, 4).

        4.      Attached hereto as Exhibit A is a true and correct copy of ACN’s “Business

Owner Agreement,” a form of which each plaintiff agreed to in connection with enrollment as an

ACN independent business owner.

        5.      Attached hereto as Exhibit B is a true and correct copy of ACN’s “Policies and

Procedures,” a form of which was in effect during the time that each plaintiff was an ACN

independent business owner.
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      I declare under penalty of perjury that the foregoing is true and correct.

Dated: November 30, 2018
       New York, New York

                                                    Respectfully submitted,

                                                    SPEARS & IMES LLP
                                                    /s/ Cynthia Chen
                                                    Cynthia Chen
                                                    SPEARS & IMES LLP
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                                                    Attorneys for Defendants




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